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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

     DECAPOLIS SYSTEMS, LLC,                      §
                                                  §
               Plaintiff,                         §
                                                  §
     v.                                           §     Case No. 2:22-cv-00146-JRG-RSP
                                                  §
     MEDSYS GROUP, LLC, TENET                     §
     HEALTHCARE CORORATION,                       §
     UNIVERSAL HEALTH SERVICES, INC.,             §
     and TYLER TECHNOLOGIES, INC.,                §
                                                  §
               Defendants.                        §
 .

                                           ORDER

          Before the Court is the Joint Motion to Stay all Deadlines and Notice of Settlement

 with respect to Defendant MedSys Group, LLC filed by Plaintiff Decapolis Systems,

 LLC and MedSys. (Dkt. No. 45.) After consideration, the Court GRANTS the

 Parties Joint Motion. IT IS THEREFORE ORDERED that all unreached deadlines

 with respect to Defendant MedSys in this matter are hereby stayed for 30 days to allow

 the Parties to submit dismissal papers.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 23rd day of August, 2022.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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